                EXHIBIT 5
                  November 20, 2023 DOJ Letter




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                                                      U.S. Department of Justice
                                                      Civil Division, Torts Branch
                                                      Environmental Torts

Cindy Hurt, Trial Attorney
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VIA EMAIL                                                     November 20, 2023

Lead Counsel for Plaintiffs
& Co-Lead Counsel for Plaintiffs

         Re:      Camp Lejeune Water Litigation – National Personnel Records Center (NPRC)

Counsel:

This letter is in response to Plaintiffs’ request to have their researchers on-site at the National
Personnel Records Center (NPRC) in St. Louis, MO to review and scan military service records
for the Camp Lejeune Justice Act (CLJA) litigation.

For the past several months, the Department of Justice (DOJ) has coordinated with multiple federal
agencies to streamline the request, digitization, and production of agency records including
military service records for the CLJA litigation. As part of this streamlined record process and at
the request of DOJ, specialized contractors hired by the Department of Veteran Affairs (VA) scan
non-digitized military service records stored at the NPRC.

Plaintiffs’ request does not account for the numerous complexities involved with military service
records. First, there is not enough room onsite at the NPRC for Plaintiff to conduct scanning
operations. Second, there is only one copy of the non-digitized military service records. Plaintiffs
and the United States cannot access these records at the same time. Third, these records are fragile,
and the VA’s contractor meets the stringent archival handling standards of the National Archives
and Record Administration (NARA). Fourth, service military records are not owned by NARA
until sixty-two years have passed since the service member’s last date of service. Prior to this time
range, these records are stored at the NPRC, but are owned by the military service departments
and their permission is required for access.

Given this, the NPRC prefers that Plaintiffs use DOJ’s streamlined record process to gain access
to military service records for the CLJA litigation.

                                                              Sincerely,

                                                              /s/ Cindy M. Hurt

                                                              CINDY MARIE HURT
                                                              Trial Attorney
                                                              U.S. Department of Justice
                                                              Civil Division, Torts Branch

cc: Counsel of Record in Camp Lejeune Water Litigation
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